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 8                                UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:06-cr-58-JAM-EFB P
12                      Respondent,
13           v.                                        ORDER
14   MANJIT KAUR RAI,
15                      Movant.
16

17           Movant, proceeding pro se, has filed a motion to vacate, set aside, or correct her sentence

18   pursuant to 28 U.S.C. § 2255. On July 20, 2016, movant requested an extension of time to file

19   her reply brief.

20           Good cause appearing, it is ORDERED that movant’s request (ECF No. 664) is granted

21   and movant has 30 days from the date this order is served to file her reply.

22   Dated: July 26, 2016.

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